  Case 4:23-cv-01175-O Document 89 Filed 09/06/24                 Page 1 of 3 PageID 1681



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 X CORP.,
                    Plaintiff,

             v.
                                                   Civil Action No. 4:23-cv-01175-O
 MEDIA MATTERS FOR AMERICA,
 et al.,
            Defendants.


                                 Defendants’ Notice of Exhibits

       Defendants hereby provide notice of the certified transcripts of voicemails received by

Media Matters on or about November 30, 2023 (Exhibit A and Exhibit B). See Decl. of A.

Carusone ¶ 13, ECF No. 87-1. Audiofiles of the voicemails (Exhibit C and Exhibit D) have been

separately provided to the Court and Plaintiff’s counsel .

Dated: September 6, 2024.

Respectfully submitted,
/s/ Andrew LeGrand
  Case 4:23-cv-01175-O Document 89 Filed 09/06/24           Page 2 of 3 PageID 1682



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                                           2
  Case 4:23-cv-01175-O Document 89 Filed 09/06/24                   Page 3 of 3 PageID 1683



                                 CERTIFICATE OF SERVICE

       On September 6, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Andrew LeGrand
                                                      Andrew LeGrand




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